Case 2:03-CV-02077-.]DB-STA Document 330 Filed 06/23/05 PagelofS Pag 242

 
 
 
 

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individually, and as next
friend of JAMES HARYEY MEALS,
deceased, and as natural
parent, guardian, and next
friend of WILLIAM MEALS,

a minor child,.

WD OF TN ivzrsv;z>b-us

Plaintiffs,

v. No. 03-2077 Ml/An
CITY OF MEMPHIS, TENNESSEE,
BRIDGETTE KING, and
FORD MOTOR COMPANY,

~vvvvvvvvvvvvv~vv

Defendants.

 

ORDER SETTING TELEPHONE CONFERENCE

 

A telephone conference has been Set in this case for
Thursday, June 30, 2005, at 10:30 a.m. Defendant City of Memphis
Shall initiate the call with all parties On the line. The
parties shall be prepared to discuss issues raised by the Joint
Motion to Stay Discovery and Pending Deadlines of Defendants City

of Memphis and Bridgette King, filed June 21, 2005.

SO ORDERED this dzz~day of June, 2005.

Q@P@M (M

. MCCALLA
OITED STATES DISTRICT JUDGE

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UNITE STATES DISTRICT oURT - WESTERNDTISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 330 in
case 2:03-CV-02077 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

